Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.1 Filed 12/16/13 Page 1 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.2 Filed 12/16/13 Page 2 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.3 Filed 12/16/13 Page 3 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.4 Filed 12/16/13 Page 4 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.5 Filed 12/16/13 Page 5 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.6 Filed 12/16/13 Page 6 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.7 Filed 12/16/13 Page 7 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.8 Filed 12/16/13 Page 8 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.9 Filed 12/16/13 Page 9 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.10 Filed 12/16/13 Page 10 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.11 Filed 12/16/13 Page 11 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.12 Filed 12/16/13 Page 12 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.13 Filed 12/16/13 Page 13 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.14 Filed 12/16/13 Page 14 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.15 Filed 12/16/13 Page 15 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.16 Filed 12/16/13 Page 16 of 17
Case 2:13-cv-15101-GAD-MJH ECF No. 1, PageID.17 Filed 12/16/13 Page 17 of 17
